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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

CLINTON JAMES PEARSON, JR.,                   )
                                              )
       Petitioner,                            )
v.                                            )    CASE NO. 2:14-cv-0100-MEF
                                              )
GARY HETZEL, et al.,                          )
                                              )
       Respondents.                           )

                                       ORDER

       On February 24, 2014, the Magistrate Judge filed a Recommendation (Doc. #4) in

this case. Upon an independent review of the file in this case and upon consideration of the

Recommendation of the Magistrate Judge, it is the

       ORDER, JUDGMENT and DECREE of the court that:

       1. The Recommendation of the Magistrate Judge is ADOPTED.

       2. The 28 U.S.C. § 2254 petition for habeas corpus relief filed by Pearson is DENIED.

       3. This cause of action is DISMISSED in accordance with the provisions of 28 U.S.C.

§ 2244(b)(3)(A) as Pearson has failed to obtain the requisite order from the Eleventh Circuit

Court of Appeals authorizing a federal district court to consider his successive habeas

application.

       DONE this the 19th day of March, 2014.



                                                        /s/ Mark E. Fuller
                                                  UNITED STATES DISTRICT JUDGE
